                           Case 18-12378-KG             Doc 4     Filed 10/22/18        Page 1 of 16



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                   )
         In re:                                                    )    Chapter 11
                                                                   )
         WELDED CONSTRUCTION, L.P., et al.,1                       )    Case No. 18-12378 (___)
                                                                   )
                                                                   )
                                   Debtors.                        )    (Joint Administration Requested)
                                                                   )

                           DECLARATION OF FRANK POMETTI
         IN SUPPORT OF DEBTORS’ CHAPTER 11 PETITIONS AND FIRST-DAY MOTIONS

                          1.       Effective contemporaneously with the filing of these chapter 11 cases on

         the Petition Date, I became the chief restructuring officer of Welded Construction, L.P. and hold

         the same position with its affiliated debtor and debtor-in-possession, Welded Construction

         Michigan, LLC (collectively, the “Debtors”). I am a managing director of the firm Zolfo

         Cooper, LLC (“Zolfo”), and have over twenty (20) years of financial and operational experience,

         spanning a wide range of industries, including construction as well as oil & gas and onshore

         exploration. I specialize in assisting distressed and underperforming companies in all areas of

         operational and financial restructuring, and have advised debtors, creditors, investors, and court-

         appointed officials in multiple bankruptcy proceedings and out-of-court workouts. In the months

         prior to the date hereof, I have been working closely with the Debtors’ management and

         professionals, initially in the capacity of financial advisor along with other Zolfo personnel. As a

         result of this work, I am generally familiar with the Debtors’ day-to-day operations, business

         affairs, and books and records, as well as the Debtors’ chapter 11 efforts.




         1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Welded Construction, L.P (5008) and Welded Construction Michigan, LLC (9830). The mailing
         address for each of the Debtors is 26933 Eckel Road, Perrysburg, OH 43551.
01:23768270.1
                Case 18-12378-KG          Doc 4     Filed 10/22/18      Page 2 of 16



                2.      I submit this declaration (the “Declaration”) in support of the First Day

Pleadings (defined below), and to provide information to parties-in-interest regarding the

Debtors. Except as otherwise indicated, all statements set forth in this Declaration are based

upon: (a) my personal knowledge; (b) information supplied to me by other members of the

Debtors’ management, my colleagues at Zolfo working on this matter, or the Debtors’

professionals; (c) my review of relevant documents; and (d) my opinion based upon my

experience and knowledge of the Debtors’ operations and financial conditions. If called upon to

testify, I could and would testify to the facts set forth in this Declaration.

                3.      On the date hereof (the “Petition Date”), each of the Debtors filed

voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”), as well as certain motions and other pleadings (the “First Day

Pleadings”), with this Court.

                4.      Headquartered in Perrysburg, Ohio, the Debtors are a mainline

pipeline construction contractor capable of executing pipeline construction projects in lengths

ranging from a few hundred feet to over 200 miles. As discussed below, the Debtors also offer a

number of other related specialty services. As described in further detail below, the Debtors

have filed these chapter 11 cases to preserve and maximize the value of their estates for the

benefit of all their stakeholders, by providing the Debtors the time, breathing room, and

resources necessary to negotiate completion of the Debtors’ existing pipeline projects (the

“Projects”) with their customers (the “Customers”).

                5.      Unfortunately, as discussed herein, the Debtors have found themselves

facing near-term liquidity issues. To address these challenges, the Debtors and their professional




                                                   2
               Case 18-12378-KG         Doc 4     Filed 10/22/18     Page 3 of 16



advisors, after considering all available strategic options, have determined that the best course to

preserve and maximize the value of the Debtors’ estates is to commence these chapter 11 cases.

               6.      I have reviewed each of the First Day Pleadings (including the exhibits

and other attachments to such pleadings), and it is my belief that the facts set forth in each are

true and correct. The relief sought in the First Day Pleadings is necessary to the Debtors’ efforts

to preserve and maximize the value of their assets for the benefit of the Debtors’ estates and

creditors. The First Day Pleadings are intended to enable the Debtors to operate effectively and

efficiently within these chapter 11 cases while the Debtors negotiate completion of their existing

pipeline Projects with their Customers, as well as minimize adverse consequences that might

otherwise result from the commencement of such cases.

               7.      Part I of this Declaration provides a brief overview of the Debtors’

business. Part II provides a summary description of the Debtors’ capital structure. Part III

provides a discussion of the circumstances that prompted the commencement of these chapter 11

cases. Part IV addresses the Debtors’ strategy to maximize the value of their assets through the

prosecution of these chapter 11 cases. Finally, Part V affirms the facts that support the relief

requested in the First Day Pleadings.

                                              Part I

                                 Overview of Debtors’ Business

A. History of the Debtors

               8.      The Debtors’ origins trace back to the 1940s when Hank Mogg & Harold

Fluharty (both pipeline welders) originally founded the Debtors’ business, utilizing the trade

name “Mogg & Fluharty Pipe Line Welding Contractors.”                 The Debtors moved their

headquarters to Perrysburg, Ohio in the mid-1970s, where it remains today.



                                                 3
                Case 18-12378-KG          Doc 4    Filed 10/22/18      Page 4 of 16



               9.      Although the Debtors’ business originated in the Midwest, it has since

grown to oversee projects nationwide over the years, and has become one of the largest and most

relied upon mainline pipeline construction contractors in the United States.            The Debtors’

Customers include some of the most prominent oil and gas pipeline operators in the country,

including Sunoco, Energy Transfer Partners, Columbia Gas, and Williams Companies.

B. Business Segments and Operations

               10.     The Debtors’ organizational structure is a simple one; Debtor Welded

Construction Michigan, LLC (a Michigan limited liability company) is wholly owned by Debtor

Welded Construction, L.P., a Delaware limited partnership.

               1. Welded Construction, L.P.

               11.     Nearly all of the Debtors’ business operations are conducted through

Debtor Welded Construction, L.P. In addition to mainline pipeline construction, these services

include: (i) fabrication welding, foundation construction, instrumentation installation, painting,

and fencing for pipeline meter/regulator stations; (ii) heavy wall pipe and fabrication welding for

installation of compressor stations; (iii) hydrostatic testing of existing pipelines; (iv) pre-cleaning

of pipelines to meet environmental discharge requirements; (v) investigation and repair of

pipeline anomalies; and (vi) the replacement or repair of pipeline segments.

               12.     Aside from the Debtors’ corporate headquarters (which is owned, and not

leased) and a leased office in Mount Joy, Pennsylvania, which currently has fewer than 10

employees dedicated to administering the Williams Project (defined below), the Debtors utilize

certain temporary facilities at worksites, but do not lease or own any other real property.

               13.     Welded Construction, L.P. has two general partners and two limited

partners. The general partners are Ohio Welded Company LLC (owner of 15 partnership units)



                                                  4
               Case 18-12378-KG         Doc 4    Filed 10/22/18     Page 5 of 16



and McCaig Welded GP, LLC (owner of 5 partnership units). The limited partners are Bechtel

Oil, Gas and Chemicals, Inc. (owner of 735 partnership units) and McCaig US Holdings, Inc.

(245 partnership units). The entity is overseen by a five-member board of managers, and

governed in accordance with that certain Second Amended and Restated Limited Partnership

Agreement of Welded Construction, L.P. dated December 1, 2015.

               2. Welded Construction Michigan, LLC

               14.    As noted above, Debtor Welded Construction Michigan, LLC is wholly

owned by Debtor Welded Construction, L.P. It was formed to provide a single customer with

certain of the same services offered by its Debtor parent. These services are concluded or

substantially concluded, though certain ongoing tail obligations, such as prepetition indemnity

obligations, may remain.

C. The Debtors’ Current Projects

               15.    The Debtors currently are working on portions of five pipeline

construction Projects for their Customers, as follows:

               * The Debtors are working on restoration, cleanup and demobilization efforts at a
               portion of the Atlantic Sunrise Pipeline (the “Williams/ASR Project”) for
               customer Transcontinental Gas Pipe Line Company, LLC, an affiliate of The
               Williams Companies, Inc. (“Williams”). The Debtors constructed a portion of
               the pipeline, and the pipeline went into service in the past month. As discussed
               further below, upon the completion of the construction work, Williams
               unexpectedly withheld $23,563,038.00 from a payment owed to the Debtors for
               the Williams/ASR Project, and contemporaneously therewith, filed a lawsuit
               against the Debtors asserting breach of contract, which created acute liquidity
               issues for the Debtors and concerns in the market about their viability as a going
               concern.

               * The Debtors are also working on restoration, cleanup and demobilization
               efforts on a portion of the Saginaw Trail Pipeline (the “2018 Consumers
               Project”) for customer Consumers Energy Company (“Consumers”). The
               Debtors constructed a portion of the pipeline, and the pipeline has gone in service.




                                                5
                  Case 18-12378-KG            Doc 4      Filed 10/22/18        Page 6 of 16



                 * The Debtors are contracted to build a portion of another pipeline for Consumers
                 in 2019 (the “2019 Consumers Project”) for which substantive work has not yet
                 begun.

                 * The Debtors are constructing a portion of the Mariner East Pipelines (the “ETP
                 Project”) for Sunoco Partners Marketing & Terminals L.P. and Sunoco Pipeline
                 L.P., affiliates of Energy Transfer Partners, L.P. (collectively, “ETP”). Within
                 the next month, most of the Debtors’ segments of work on the pipeline are
                 scheduled to achieve “mechanical completion,” meaning construction will be
                 concluded other than cleanup and demobilization efforts. However, as discussed
                 in greater detail below, on October 19, 2018, ETP sent a letter to the Debtors,
                 purporting to terminate for cause their agreement. It is the Debtors’ position that
                 this purported termination is invalid.

                 * The Debtors are constructing portions of the Leach Xpress and Mountaineer
                 XPress Pipelines for affiliates of TransCanada, as successor to NiSource
                 Corporate Services Company/Columbia Pipeline Group and Columbia Gas
                 Transmission, LLC, respectively (the “Columbia Gas Project”). The Debtors’
                 work on the Columbia Gas Project includes work on the Leach XPress Pipeline in
                 Ohip and the Mountaineer XPress Pipeline in West Virginia. Within the next
                 month, the Debtors’ work on the Columbia Gas Project is scheduled to achieve
                 “mechanical completion,” meaning construction will be concluded other than
                 cleanup and demobilization efforts.

D. Debtors’ Assets and Liabilities

                 16.      For the twelve months ending September 30, 2018,2 the Debtors generated

slightly more than $1 billion in gross revenue on a consolidated basis.3 As of the Petition Date,

the book value of the Debtors’ assets, after excluding for certain intangible items like

accumulated depreciation, are over $265 million, including accounts receivable of over $116




2
 The financial information herein reflects the unaudited financial information of the Debtors as of September 30,
2018 unless otherwise noted. The Debtors most recent audited financial statements were for the year ended
December 31, 2016.
3
 This revenue amount includes the recognition of revenue from invoiced but unpaid work performed, along with
change orders submitted to certain customers. As discussed below, certain of these amounts are subject to dispute.
As such, the Debtors’ actual gross revenue may be lower.


                                                        6
                  Case 18-12378-KG             Doc 4      Filed 10/22/18        Page 7 of 16



million (much of which, as discussed below, is subject to payment delays or disputes), and

equipment with a recent appraised liquidation value of over $30 million.4.

                 17.      The Debtors have estimated accrued liabilities owed to third parties of

approximately $240 million.

                 18.      The Debtors have cash on hand of approximately $0.9 million as of the

Petition Date, which the Debtors believe is not subject to any perfected security interest, but may

be subject to unperfected security interests of the Sureties (defined below), as discussed below.

                                                     Part II

                                     Capital Structure of the Debtors

                 19.      As of the Petition Date, the Debtors have no outstanding secured debt

obligations under any term loan or revolving credit facility, but have certain existing or potential

secured obligations in connection with surety bonds, discrete equipment financings (with liens in

the applicable discrete pieces of equipment), and potential miscellaneous statutory lien claims.

However, as discussed below, the Debtors believe certain of these purported security interests

are unperfected, and thus subject to avoidance under section 544 of the Bankruptcy Code.

                 20.      The significant liabilities of the Debtors are described in more detail

below.

A. Surety Bonds

                 21.      In the ordinary course of business, the Debtors are required to provide

surety bonds (the “Surety Bonds”) to certain third parties, including contract counterparties,

governmental units or other public agencies, to secure the Debtors’ payment or performance of

certain obligations, including the completion of various projects within the terms of the

4
  This equipment in this appraisal excludes the equipment, discussed below, for which Caterpillar Financial Services
Corporation and VAR Resources, LLC have filed financing statements. As noted below, the Debtors reserve their
rights with respect to whether this equipment is owned or leased.


                                                         7
               Case 18-12378-KG         Doc 4     Filed 10/22/18     Page 8 of 16



applicable contracts, and environmental, road damage, lease, licensing and permitting, and

contractor obligations (the “Surety Bond Program”).

               22.     As of the Petition Date, the Debtors believe that they have four Surety

Bonds on their Projects. As set forth therein, among others, the Surety Bonds were issued by the

Chubb, through Federal Insurance Company (“Chubb”)and Berkshire Hathaway Specialty

Insurance Company (“Berkshire,” and together with Chubb, the “Sureties”). There are no

outstanding premiums or other amounts under the Surety Bonds as of the commencement of

these chapter 11 cases. Bond premiums are based on contract value.

               23.     Chubb has issued three Surety Bonds related to the Debtors’ pipeline

construction Projects: (i) an approximately $454 million bond related to the Williams/ASR

Project; (ii) an approximately $56 million bond related to a project that has been completed by

the Debtors for well over a year, which bond the Debtors believe should be released without

liability, and (iii) a $14.5 million wage payment bond.         Finally, Berkshire has issued an

approximately $60 million bond on the Consumers 2018 Project that reached mechanical

completion shortly before the Petition Date, but for which cleanup and demobilization work

remains.

               24.     While the Surety Bonds shift the risk of the Debtors’ non-payment or

nonperformance from the obligee to the Sureties, the Surety Bonds are not an insurance policy.

Rather, if a Surety incurs a loss on a Surety Bond as a result of the Debtors’ underlying liability,

the Surety will seek repayment from the Debtors. Toward this end, the Debtors have entered into

that certain: (i) General Indemnity Agreement dated February 28, 2017 with Chubb (the “Chubb

Indemnity Agreement”); and (ii) General Agreement of Indemnity dated May 29, 2018 with

Berkshire (the “Berkshire Indemnity Agreement,” and collectively, the “Indemnity



                                                 8
                  Case 18-12378-KG              Doc 4      Filed 10/22/18        Page 9 of 16



Agreements”). Pursuant to these Indemnity Agreements, the Debtors have agreed to indemnify

Chubb and Berkshire, respectively, on the terms set forth in the agreements in the event they are

required to pay or perform under the Surety Bonds they have issued. In addition, among other

terms, the Indemnity Agreements purport to grant the Sureties certain security interests in the

Debtors’ assets, but as of the Petition Date, none of the Sureties have filed a UCC financing

statement or otherwise perfected a security interest in the Debtors’ cash. Accordingly, at this

time, the Debtors believe any security interests of the Sureties are unperfected.5

B. Other Secured Claims

                  25.      Financing statements have been filed against the Debtors asserting discrete

security interests in miscellaneous equipment in connection with certain amounts currently

owing to Caterpillar Financial Services Corporation (which has filed liens in over 100 pieces of

equipment) and VAR Resources, LLC on account of equipment financings. As of the Petition

Date, the Debtors believe approximately $26 million in total liabilities remaining in connection

with these equipment financings.6

                  26.      Certain third parties, including state and local taxing authorities, also may

possess statutory liens in certain of the Debtors’ property in accordance with applicable state

law.

                  27.      Finally, the Debtors previously entered into a revolving credit facility with

The Huntington National Bank (“Huntington”), pursuant to a credit agreement dated as of June

28, 2017 (the “Revolving Credit Facility”).                   Debtor Welded Construction, L.P. was the

contemplated borrower under the Revolving Credit Facility, and Debtor Welded Construction

5
  As such, the Debtors believe they are subject to avoidance under section 544 of the Bankruptcy Code, and no
adequate protection is necessary for the Debtors to utilize their cash pursuant to section 363 of the Bankruptcy Code.
6
  The Debtors and their estates reserve all rights regarding whether these alleged equipment financings are
financings or are instead personal property leases.


                                                          9
              Case 18-12378-KG         Doc 4      Filed 10/22/18   Page 10 of 16



Michigan, LLC was a guarantor. As of the Petition Date, however, there are no borrowings

under the Revolving Credit Facility and no amounts are due by the Debtors in connection

therewith. Moreover, the Revolving Credit Facility is no longer available to provide financing to

the Debtors. The Debtors have previously requested that a UCC termination statement be filed

by Huntington with respect to the Revolving Credit Facility.

               28.     Similarly, the Debtors have requested that a UCC termination statement be

filed with respect to a financing statement filed by BNP Paribas for a factoring agreement once

used in connection with one of the Debtors’ Projects, which agreement no longer secures any

remaining receivables owed to the factor.

C. Unsecured Obligations

               29.     In the ordinary course of operating their business, the Debtors utilize

certain goods and services from hundreds, if not thousands, of trade vendors and subcontractors.

As of the Petition Date, the Debtors estimate that they owe approximately $212 million to trade

creditors. Debtor Welded Construction, L.P. also owes approximately $4 million to one of its

general partners (or affiliates of one of its general partners). The Debtors do not believe they

owe any intercompany liabilities to each other.

                                            Part III

                     Events Leading to the Commencement of These Cases

               30.     For decades, the Debtors’ business has been a fundamentally strong one,

providing significant value to their Customers’ construction Projects. More recently, however,

the Debtors began facing a series of discrete challenges on their Projects that combined to impair

the Debtors’ operating cash flow and its near-term liquidity. These challenges have included:

(i) unusual cost overruns on Projects for which the Debtors were compensated on a “lump sum”




                                                  10
               Case 18-12378-KG         Doc 4    Filed 10/22/18     Page 11 of 16



or fixed basis; (ii) weather, regulatory delays, shutdowns and other delays that in many instances

were not specific to the Debtors; and (iii) significant payment delays or disputes.

               31.     Taken together, this series of events put a meaningful strain on the

Debtors’ near-term liquidity, necessitating these chapter 11 bankruptcy filings.

               32.     In particular, on October 4, 2018, Williams unexpectedly withheld

$23,563,538.00 from a payment to the Debtors for the Williams/ASR Project, and filed a lawsuit

(the “Williams Complaint”) against the Debtors that same day, in the District Court of Tulsa

County for the State of Oklahoma, styled Transcontinental Gas Pipe Line Company, LLC v.

Welded Construction, L.P., asserting breach of contract. According to the complaint, the breach

of contract claim is premised on allegations that the Debtors overbilled the amounts comprising

the withheld payment and failed to provide proper reconciliation of certain charges, and seeks

“delay damages of at least $1,928,571.”

               33.     The Debtors vigorously dispute the allegations contained in the Williams

Complaint. Since the filing of the Williams Complaint, the Debtors have engaged in dialogue

with Williams and its other Customers in an attempt to consensually resolve the dispute and

avert the need for the filing of these chapter 11 cases. However, the filing of the Williams

Complaint was quickly made public to the market and Customers became increasingly concerned

about how the payment of receivables would be utilized by the Debtors. In particular, Customers

sought assurance that any new payables would be solely deployed toward expenses related to

their particular Projects. As such, these discussions were unsuccessful, depriving the Debtors of

the necessary liquidity to sustain their business operations outside of chapter 11 and absent

negotiated arrangements with their Customers, as discussed immediately below.




                                                11
               Case 18-12378-KG          Doc 4   Filed 10/22/18      Page 12 of 16



               34.     Thereafter, on October 19, 2018, ETP sent a letter purporting to terminate

for cause the Debtors’ engagement on the ETP Project. The Debtors believe the termination

attempt is ineffective and invalid because ETP did not provide proper notice or a cure period, as

required under the terms of their agreement. The Debtors have reserved the right to assert all

affirmative claims and causes of action it may have against ETP or any affiliated third party

arising from this purported termination and otherwise. This includes, but is not limited to, claims

for breach of contract and breach of the implied covenant of good faith and fair dealing, as well

as tortious interference claims arising from or related to third-parties taking actions and reliance

upon the defective termination notice.

                                             Part IV

                                      The Chapter 11 Cases

               35.     The Debtors, in consultation with their professional advisors, have

diligently evaluated a range of strategic alternatives to address their near-term liquidity

challenges. As a result of these efforts, the Debtors have determined it is necessary to commence

these chapter 11 cases with a $20 million debtor-in-possession financing facility consisting of

entirely new money from North American Pipeline Equipment Company, LLC (the “DIP

Lender”), an entity under common ownership with the partners of Debtor Welded Construction,

L.P., to allow the Debtors the time, breathing spell, and resources necessary to continue

discussions with their Customers so as to negotiate arrangements to finalize the Debtors’

ongoing Projects with them, all with the overarching goal of maximizing the value of the

Debtors’ estates for the benefit of the Debtors’ creditors and other stakeholders.

               36.     The success of these chapter 11 cases hinges on negotiations with

Customers to complete their Projects. As generally described above, the Debtors furnish and pay

for all labor, supervision, technical capability, transportation, materials, supplies, and all other

                                                 12
               Case 18-12378-KG         Doc 4    Filed 10/22/18     Page 13 of 16



items or accessories necessary for their work on a particular Project. Further, the Debtors

regularly purchase, lease, and maintain equipment for work on the projects, and the Debtors are

oftentimes co-signors with their Customers on the state and federal permits that facilitate the

projects. Finally, for most of their projects, the Debtors employ and oversee the work of

sub-contractors and vendors (collectively, the “Sub-Contractors”), and, under certain contracts,

the customer has discretion over which Sub-Contractors are utilized. Typically, the Customers

compensate the Debtors pursuant to purchase orders for the work they perform on the Projects.

In turn, the Debtors pay the Sub-Contractors for the goods and services provided for the

respective Projects.

               37.     As such, it is critical that the Debtors reach acceptable agreements with

the Customers on a project-by-project basis to fund ongoing construction and related costs, while

satisfying the claims of vendors that have the ability to put mechanics liens on the Projects or

otherwise are critical to ongoing Project construction. Sensitive to the concerns expressed by its

Customers, the Debtors are negotiating arrangements to receive payments that will be used

primarily for completion of their particular Project, as well as certain overhead and other costs.

The chapter 11 process affords the Debtors the ability to reach these arrangements and seek the

necessary Court approval to provide Customers with the relief they are requiring to continue to

fund the Projects. These arrangements will significantly benefit the Debtors’ estates, as well as

the Customer, by satisfying significant prepetition claims, potentially avoiding construction

delays, and resulting litigation. In addition, the Debtors’ rights, and the Customers defenses, will

be reserved to address any remaining receivables once the Project is on solid footing. Notably,

the Projects are either complete, subject to clean-up and demobilization, or nearing completion in

approximately one month, except for one Project for which substantive work has not yet begun.



                                                13
               Case 18-12378-KG          Doc 4    Filed 10/22/18      Page 14 of 16



As such, the arrangements are short-term, but vital to get the Projects to completion. Without

such arrangements, the Debtors will not have the liquidity to complete the Projects and anticipate

that the Customers will make no further payments, attempt to find alternative resources to

complete the Projects, and seek to setoff payments against the cost of completion and payment of

claims to avoid the imposition of liens against the Projects.

                                               Part V

                            Facts Relevant to the First Day Pleadings

               38.     To facilitate these chapter 11 cases, the Debtors have filed the First Day

Pleadings, requesting various forms of relief. Generally, the First Day Pleadings have been

designed to meet the Debtors’ goals of: (a) continuing the operations of the Debtors necessary to

maximize the value of their estates through these chapter 11 cases while the Debtors negotiate

completion of their existing pipeline projects with their Customers; (b) maintaining the

confidence and support of their employees and other key constituents during the chapter 11

process; and (c) establishing procedures for the smooth and efficient administration of these

chapter 11 cases.

               39.     I have reviewed each of the First Day Pleadings, and the facts set forth

therein are true and correct to the best of my knowledge, information and belief, and are

incorporated herein by reference. It is my belief that the relief sought in each of the First Day

Pleadings is tailored to meet the goals described above and, ultimately, will enhance the Debtors’

ability to maximize the value of their estates for the benefit of all of the Debtors’ stakeholders.

               40.     It is my further belief that, with respect to those First Day Pleadings

requesting the authority to pay discrete prepetition claims or continue selected prepetition

programs, the relief requested is essential to preserve the value of the Debtors’ estates, and

necessary to avoid immediate and irreparable harm to the Debtors and all stakeholders of their

                                                 14
               Case 18-12378-KG          Doc 4    Filed 10/22/18       Page 15 of 16



estates. The Debtors believe that payment of those selected prepetition claims identified in the

First Day Pleadings will forestall such irreparable harm, thus maximizing the value of the

Debtors’ estates to the benefit of all stakeholders.

               41.     The Debtors have an immediate need to continue the operation of their

business by paying employees in the normal course of business pending the completion of their

chapter 11 efforts, and making other necessary payments as set forth in the First Day Pleadings.

Further, the Debtors believe that such relief will enable them to avoid a diminution of estate

value.

                                          CONCLUSION

For all the reasons described herein and in the First Day Pleadings, I respectfully request that the

Court grant the relief requested in each of the First Day Pleadings.

                                      [Signature page follows]




                                                 15
Case 18-12378-KG   Doc 4   Filed 10/22/18   Page 16 of 16
